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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 MONICA ABBOUD, individually and on
 behalf of all others similarly situated,
                        Plaintiff,                 Case No. 19-cv-02152 RGA
 v.                                                CLASS ACTION COMPLAINT
 BARCLAYS BANK DELAWARE, a national JURY TRIAL DEMANDED
 banking association, and PREMIER UNION
 TRUST, LLC, d/b/a SECOND CHOICE
 HORIZON, a Florida limited liability
 company,
                        Defendants.

                MOTION AND ORDER FOR ADMISSION PRO HAC VICE

        Pmsuant to Local Rule 83.5 and the attached ceiiification, counsel moves the admission

pro hac vice of Taylor Smith to represent Plaintiff in this matter.

                                                SEITZ, VAN OGTROP & GREEN, P.A.


                                               /s/ Jared T. Green
                                               JARED T. GREEN (#5179)
                                               222 Delaware Avenue, Suite 1500
                                               Wilmington, DE 19801
                                               302-888-7606

                                              Attorneys for Plaintiff and the Class



       IT IS HEREBY ORDERED that counsel's motion for admission pro hac vice is granted.



Date:_______
                                                        United States District Judge




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